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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

POPSOCKETS LLC,
                                                    Case No. 19-cv-00912
               Plaintiff,
                                                    Judge Virginia M. Kendall
v.
                                                    Magistrate Judge Sidney I. Schenkier
6109656, et al.,

               Defendants.


                               SATISFACTION OF JUDGMENT

        WHEREAS, a judgment was entered in the above action on April 18, 2019 [53], in favor

of Plaintiff PopSockets LLC (“PopSockets” or “Plaintiff”), and against the Defendants Identified

in Schedule A in the amount of one hundred fifty thousand dollars ($150,000) per Defaulting

Defendant, and Plaintiff acknowledges payment of an agreed upon damages amount, costs, and

interest and desires to release this judgment and hereby fully and completely satisfy the same as

to the following Defendants:

               Defendant Name                                         Line No.
                  moral_shop                                            163
     Shenzhen Kun He International Trade Co.,                           182
                      Ltd.
                 Zhangtaoxing                                            217

        THEREFORE, full and complete satisfaction of said judgment as to the above-referenced

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.




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Dated this 25th day of July 2019.    Respectfully submitted,


                                     _/s/ Allyson M. Martin__________________
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